Case 3:21-cr-30001-DWD Document 154 Filed 07/09/21 Page 1 of 3 Page ID #489




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,      )
                               )
                    Plaintiff, )
                               )
         vs.                   ) CRIMINAL NO. 21-CR-30001-DWD
                               )
KENDRICK A. FRAZIER            )
                               )
                    Defendant. )

              GOVERNMENT=S RESPONSE TO DEFENDANT’S
                 MOTION TO SUPPRESS STATEMENTS

      The United States of America, by its attorneys, Steven D. Weinhoeft, United

States Attorney for the Southern District of Illinois, and Ali Summers, Assistant

United States Attorney, hereby files its response to Defendant Kendrick Frazier’s

Motion to Suppress Statements and requests that the Court deny the Defendant’s

motion as moot. In support therefore the undersigned states as follows:

      1. Defendant Kendrick Frazier filed a motion to suppress any and all

         statements made following his arrest on January 20, 2021 alleging that any

         statements made were not voluntary and/or were obtained in violation of

         his Constitutional rights. (Doc. 138).


      2. After Kendrick Frazier was arrested by the United States Marshals on

         January 20, 2021 pursuant to an arrest warrant for the charges in this case,

         members of the ISP Public Safety Enforcement Group attempted to

         interview Kendrick Frazier.

                                          1
Case 3:21-cr-30001-DWD Document 154 Filed 07/09/21 Page 2 of 3 Page ID #490




        3. Prior to asking Kendrick Frazier any questions, PSEG Agent Tyson Melvin

           advised Kendrick Frazier of his Miranda rights.


        4. After being advised of his Miranda rights, Kendrick Frazier informed the

           PSEG agents that he did not want to talk to them. At that point the

           interview was terminated. Kendrick Frazier made no post-arrest or

           custodial statements.


        5. The attempted interview was audio and video recorded.


        WHEREFORE, the Government respectfully submits that Defendant

Kendrick Frazier’s motion to suppress statements (Doc. 138) should be denied as

moot.

                                               Respectfully submitted,

                                               STEVEN D. WEINHOEFT
                                               United States Attorney

                                               s/ Ali Summers
                                               ALI SUMMERS
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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,              )
                                       )
                          Plaintiff,   )

                                           2
Case 3:21-cr-30001-DWD Document 154 Filed 07/09/21 Page 3 of 3 Page ID #491




                               )
         vs.                   ) CRIMINAL NO. 21-CR-30001-DWD
                               )
KENDRICK A. FRAZIER            )
                               )
                    Defendant. )

                               Certificate of Service

      I hereby certify that on July 9, 2021, I electronically filed:

              GOVERNMENT=S RESPONSE TO DEFENDANT’S
                 MOTION TO SUPPRESS STATEMENTS

with the Clerk of the Court using the CM/ECF system which will send notification of
such filings to all attorneys of record.



                                               Respectfully submitted,

                                               STEVEN D. WEINHOEFT
                                               United States Attorney

                                               s/ Ali Summers
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